       Case 22-01109                 Doc 14          Filed 05/05/22 Entered 05/05/22 23:14:59                       Desc Imaged
                                                    Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1
                       John C Robinson                                             Social Security number or ITIN   xxx−xx−7777
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Northern District of Illinois

Case number:          22−01109


Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             John C Robinson


             May 3, 2022                                                   For the court: Jeffrey P. Allsteadt, Clerk
                                                                                          United States Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                       For more information, see page 2 >




Official Form 318                                             Order of Discharge                                     page 1
    Case 22-01109         Doc 14     Filed 05/05/22 Entered 05/05/22 23:14:59           Desc Imaged
                                    Certificate of Notice Page 2 of 4




Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2
           Case 22-01109                Doc 14          Filed 05/05/22 Entered 05/05/22 23:14:59                                     Desc Imaged
                                                       Certificate of Notice Page 3 of 4
                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 22-01109-CAD
John C Robinson                                                                                                        Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: May 03, 2022                                               Form ID: 318                                                              Total Noticed: 12
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 05, 2022:
Recip ID                   Recipient Name and Address
db                     +   John C Robinson, 47 N. 5th Avenue, Des Plaines, IL 60016-2301
29647011               +   Advocate Health Care, 3075 Highland Parkway, Downers Grove, IL 60515-5560
29647012               +   Alden Des Plaines, 4200 W. Peterson Ave, Suite 140, Chicago, IL 60646-6819
29647014               +   Best Practices Inpatient Care, P.O. Box 268, Lake Zurich, IL 60047-0268
29647016               +   Cook County Clerk's Office, 118 N. Clark Street, Room 434, Chicago, IL 60602-1413

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QMRSTEIN.COM
                                                                                        May 04 2022 02:23:00      Miriam R. Stein, Gutnicki LLP, 4711 Golf Road,
                                                                                                                  Suite 200, Skokie, IL 60076-1236
29647013                   Email/Text: bankruptcy@alliance-collections.com
                                                                                        May 03 2022 22:21:00      Alliance Collection Agencies, Attn: Bankruptcy,
                                                                                                                  Po Box 1267, Marshfield, WI 54449
29647015               + EDI: CITICORP.COM
                                                                                        May 04 2022 02:23:00      Citibank/Best Buy, Citicorp Credit
                                                                                                                  Srvs/Centralized Bk dept, Po Box 790034, St
                                                                                                                  Louis, MO 63179-0034
29647017               + EDI: DISCOVER.COM
                                                                                        May 04 2022 02:23:00      Discover Financial, Attn: Bankruptcy, Po Box
                                                                                                                  3025, New Albany, OH 43054-3025
29647018                   Email/Text: Bankruptcy.Notices@pnc.com
                                                                                        May 03 2022 22:21:00      PNC Bank, PO Box 3429, Pittsburgh, PA 15230
29647019               + EDI: RMSC.COM
                                                                                        May 04 2022 02:23:00      Synchrony Car Care, Attn: Bankruptcy, Po Box
                                                                                                                  965064, Orlando, FL 32896-5064
29648980               + EDI: RMSC.COM
                                                                                        May 04 2022 02:23:00      Synchrony Bank, c/o PRA Receivables
                                                                                                                  Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                                  23541-1021

TOTAL: 7


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
           Case 22-01109              Doc 14        Filed 05/05/22 Entered 05/05/22 23:14:59                                Desc Imaged
                                                   Certificate of Notice Page 4 of 4
District/off: 0752-1                                              User: admin                                                           Page 2 of 2
Date Rcvd: May 03, 2022                                           Form ID: 318                                                        Total Noticed: 12

the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 05, 2022                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 3, 2022 at the address(es) listed below:
Name                             Email Address
Joseph P Doyle
                                 on behalf of Debtor 1 John C Robinson joe@fightbills.com courts@fightbills.com;r44937@notify.bestcase.com

Miriam R. Stein
                                 mstein@gutnicki.com mstein@ecf.axosfs.com;IL82@ecfcbis.com;csmith@fgllp.com

Patrick S Layng
                                 USTPRegion11.ES.ECF@usdoj.gov


TOTAL: 3
